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The Honorable Ronald B. Leighton

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

WHITNEY POOLE, individually and on
behalf of all others similarly situated,

Plaintiff,
Vv.

BENJAMIN MOORE & CO., INC., a New
Jersey corporation,

Defendant.

 

 

 

 

No. 3:18-cv-05168-RBL

STIPULATED NOTICE OF DISMISSAL

Pursuant to Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Whitney

Poole and Defendant Benjamin Moore & Co., Inc. hereby stipulate to the dismissal of this action

in its entirety, with prejudice.

It Is So Stipulated Through Counsel of Record this 5th day of November, 2018.

STIPULATED NOTICE OF DISMISSAL - 1
No. 3:18-CV-05168-RBL

GORDON | 1001 Fourth Avenue
TILDEN | Suite 4000

THOMAS | Seattle, WA 98154-1007

CORDELL | 206.467.6477

 
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GORDON THOMAS HONEYWELL LLP
Attorneys for Defendant

By _ s/ Michael E. Ricketts
Diane J. Kero, WSBA No. 11874
Michael E. Ricketts, WSBA 9387
600 University Street, Suite 2100
Seattle, WA 98104-4185
Telephone: (206) 676-7500
dkero@gth-law.com

mricketts(@ eth-law.com

GREENBERG TRAURIG LLP
Attorneys for Defendant

By _ s/ Eric S. Aronson
Eric S. Aronson
Todd L. Schleifstein
Paige Nestel
GREENBERG TRAURIG LLP
500 Campus Drive, Suite 400
Florham Park, NJ 07932
Telephone: (973) 360-7900
AronsonE@etlaw.com

SchleifsteinT@etlaw.com

NestelP@gtlaw.com

GORDON TILDEN THOMAS & CORDELL LLP
Attorneys for Plaintiff Whitney Poole

By _ s/ Brendan Winslow-Nason
Jeffrey M. Thomas, WSBA #21175
Mark Wilner, WSBA #31550
Brendan Winslow-Nason, WSBA #39328
600 University Street, Suite 2915
Seattle, Washington 98101
206.467.6477
jthomas@gordontilden.com
mwilner@gordontilden.com
bwinslow-nason@gordontilden.com

STIPULATED NOTICE OF DISMISSAL - 2 GORDON | 1001 Fourth Avenue

No. 3:18-CV-05168-RBL TILDEN | Suite 4000
THOMAS | Seattle, WA 98154-1007
CORDELL | 206.467.6477

 
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Case 3:18-cv-05168-RBL Document 40 Filed 11/05/18 Page 3 of 4

KOZONIS LAW
Attorneys for Plaintiff Whitney Poole

By _ s/ Gary Klinger
Gary Klinger*
4849 N. Milwaukee Ave., #300
Chicago, IL 60630
773.545.9607
gklinger@kozonislaw.com
*Admitted Pro Hac Vice

WASKOWSKI JOHNSON YAHALEM LLP
Attorneys for Plaintiff Whitney Poole

By _ s/ Daniel R. Johnson
Daniel R. Johnson*
Waskowski Johnson Yahalem LLP
954 W. Washington Blvd., Suite 322
Chicago, IL 60607
312.278.3153
djohnson@wiylegal.com

* Admitted Pro Hac Vice

IT IS SO ORDERED THIS 2! DAY OF _Loscnrtiey Zou
QO (_.

UNITED STATES DISTRICT C

STIPULATED NOTICE OF DISMISSAL - 3 GORDON | 1001 Fourth Avenue

No. 3:18-CV-05168-RBL TILDEN | Suite 4000
THOMAS | Seattle, WA 98154-1007
CORDELL | 206.467.6477

 
